     Case 2:20-cv-09837-AB-MRW Document 12 Filed 11/06/20 Page 1 of 4 Page ID #:434



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 7
 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
      JENNIFER SPARGIFIORE, an                   )     Case No.: 2:20-cv-09837-AB-(MRWx)
11    individual, for herself and all members of )
      the putative class,                        )     CLASS ACTION
12                                               )
                                                 )     PLAINTIFF JENNIFER
13                  Plaintiff,                   )     SPARGIFIORE’S REQUEST FOR
                                                 )     MOTION PREFERENCE
14          v.                                   )
                                                 )     Date:        December 4, 2020
15                                               )     Time:        10:00 a.m.
      PANDA RESTAURANT GROUP, INC., )                  Courtroom:   7B
16    a California Corporation; and DOES 1       )     Judge:       Hon. Andrè Birotte Jr.
      through 100, inclusive,                    )
17                                               )     Complaint Filed: December 11, 2019
                    Defendants.                  )     Trial Date:      None Set
18                                               )
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                    PLAINTIFF JENNIFER SPARGIFIORE’S REQUEST FOR MOTION PREFERENCE
     Case 2:20-cv-09837-AB-MRW Document 12 Filed 11/06/20 Page 2 of 4 Page ID #:435




 1          TO THE COURT AND DEFENDANT AND ITS COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that Plaintiff hereby requests her Motion to Remand be
 3    heard prior to any pending motions, including Defendant’s Motion to Compel Arbitration
 4    and Stay (Dkt. 8) and Defendant’s Motion to Strike, or in the Alternative Dismiss (Dkt. 9).
 5    Plaintiff’s request is based on the following:
 6          When the Court’s authority to hear a case is at issue, a “Court must [ ] examine its
 7    jurisdiction before examining the other motions before the Court.” Armod Ohan v.
 8    AmeriFirst Fin., Inc., No. CV148380MWFAGRX, 2015 WL 13757759, at *2 (C.D. Cal.
 9    Jan. 20, 2015) (citing Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 278
10    (1977)). Accordingly, “parties may suggest a lack of subject matter at any time,” even
11    absent a motion to remand, and the “Court has an ongoing responsibility to consider” it.
12    See Young v. Securitas Sec. Servs. USA, Inc., No. 17-CV-05342-JCS, 2018 WL 1142190,
13    at *8 (N.D. Cal. Mar. 2, 2018).
14          Instead of responding to Plaintiff about this important threshold issue, Defendant
15    ignored Plaintiff until it could ram forward its Motion to Compel Arbitration, Dkt. 8, and
16    Motion to Strike Class Allegations and Stay Action, Dkt. 9, on November 3, 2020. Nearly
17    an identical scenario occurred in Ohan. There, the defendant removed the action and
18    immediately moved to compel arbitration and a motion to dismiss or to stay proceedings
19    pending the outcome of arbitration.      Armod, supra, 2015 WL 13757759, at *1. The
20    plaintiff then moved for leave to amend “which if accepted would serve to defeat complete
21    diversity.” Id. at *3. The court correctly found “[f]ederal courts are under a continuing
22    duty to confirm their jurisdictional power and are obligated to inquire sua sponte whenever
23    a doubt arises as to [its] existence.” Id. at *2. “Further, the removal statutes are construed
24    restrictively, so as to limit removal jurisdiction. Generally, doubts as to removability are
25    resolved in favor of remanding the case to the state court.” Id., citing Shamrock Oil &
26    Gas Corp. v. Sheets, 313 U.S. 100, 108–109 (1941). “The Court must thus examine its
27    jurisdiction before examining the other motions before the Court.” Id. The court
28    ultimately granted remand, mooting defendant’s motions.


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                    PLAINTIFF JENNIFER SPARGIFIORE’S REQUEST FOR MOTION PREFERENCE
     Case 2:20-cv-09837-AB-MRW Document 12 Filed 11/06/20 Page 3 of 4 Page ID #:436




 1          The same thing happened recently in Diaz v. Sun-Maid Growers of California
 2    where the defendant removed the action under CAFA and moved to dismiss shortly
 3    thereafter. See No. 119CV00425LJOSKO, 2019 WL 3530398, at *2 (E.D. Cal. Aug. 2,
 4    2019). There, the plaintiff moved for leave to amend, which “raise[d] jurisdictional issues
 5    that must be decided before any other issued are addressed.” Id. Chief Judge Lawrence
 6    J. O’Neill found this gave the court “a powerful reason to choose not to continue to
 7    exercise jurisdiction.” Id., citing Carnegie-Mellon Univ. of Cohill, 484 U.S. 343, 349–
 8    352 (1988) (finding “wide discretion to remand rather than to dismiss” promotes “the
 9    principles of judicial economy, procedural convenience, fairness to litigants, and comity
10    to the States which underlie the pendent jurisdiction doctrine”). Diaz correctly granted
11    the plaintiff motion preference, granted remand, and denied the defendant’s pending
12    motion as moot.
13          McElhannon is similar.        There, the defendant removed under CAFA and
14    immediately moved to compel arbitration, dismiss class claims, and stay the plaintiff’s
15    PAGA claims, just like Defendant does here. McElhannon v. Carmax Auto Superstores
16    W. Coast, Inc., No. 3:19-CV-00586-WHO, 2019 WL 2354879, at *1 (N.D. Cal. June 4,
17    2019). The plaintiff moved to remand, but only after filing an amended complaint that
18    divested the court’s original jurisdiction under CAFA. Id. The court found, “[i]n order to
19    address the issues on the merits in the most efficient and least expensive way, I will
20    remand the case because there is no basis for federal jurisdiction under the [operative
21    complaint].”    Id.   Relying on the new amended complaint’s allegations, the court
22    remanded the case for failure to satisfy CAFA requirements and vacated all hearings on
23    defendant’s motions. Id. at *3.
24          Here, Plaintiff’s Motion for Remand identifies significant flaws in Defendant’s
25    removal papers. The Court should first determine whether it even has the jurisdiction to
26    hear Defendant’s motions before spending precious time and resources on them.
27    Practically, whether the Court has jurisdiction will significantly affect Defendant’s
28    impending motions because they raise issues regarding federal pleading standards instead


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                     PLAINTIFF JENNIFER SPARGIFIORE’S REQUEST FOR MOTION PREFERENCE
     Case 2:20-cv-09837-AB-MRW Document 12 Filed 11/06/20 Page 4 of 4 Page ID #:437




 1    of the pleading standards for the forum in which Plaintiff originally filed. The Court should
 2    grant motion preference on the Motion to Remand, or simply deny Defendant’s motions as
 3    moot until jurisdiction is decided. See McElhannon, 2019 WL 2354879, at *2, fn. 2.)
 4
 5    Dated: November 6, 2020                           PARRIS LAW FIRM
 6
 7                                               By:          /s/ Ryan A. Crist
 8                                                      Kitty K. Szeto
                                                        Sylvia Torres-Guillen
 9
                                                        Ryan A. Crist
10                                                      Attorneys for Plaintiff
11                                                      and the Putative Class
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                    PLAINTIFF JENNIFER SPARGIFIORE’S REQUEST FOR MOTION PREFERENCE
